Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 1 of 13 PageID #: 322



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------X
  KEN CALDWELL and LISA CALDWELL,

                                     Plaintiff(s),             REPORT AND
                                                               RECOMMENDATION
                   -against-                                   CV 08-4207 (JFB) (WDW)

  GUTMAN, MINTZ, BAKER & SONNENFELDT, P.C.,
  RUSSELL POLIRER, FAIRFIELD PRESIDENTIAL
  ASSOCIATES, LIGHTSTONE GROUP, FAIRFIELD
  PRESIDENTIAL MANAGEMENT CORP.,
  DAVID LICHTENSTEIN, and DEBBIE KETAY,

                                      Defendant(s).
  ---------------------------------------------------------X
  WILLIAM D. WALL, United States Magistrate Judge:

          Before the court on referral from District Judge Bianco is the defendants’ motion to

  dismiss the complaint pursuant to Rule 12(c). DE[20]. The motion is opposed by the pro se

  plaintiffs. DE[33]. For the reasons set forth herein, I recommend that the motion be granted and

  the Complaint dismissed without leave to replead. Further, I recommend, sua sponte, that the

  pending motion to amend (DE[18]) be denied. The changes articulated in the motion would not

  change the recommendation that the complaint be dismissed.

                                                 BACKGROUND

          This action was commenced by the pro se plaintiffs, Ken and Lisa Caldwell, in October

  2008. The complaint purports to set forth claims pursuant to the federal Fair Debt Collection

  Act, the Fair Credit Reporting Act, New York General Business Law §349, Federal Rule of Civil

  Procedure 11, federal criminal statutes regarding fraud and mail fraud, and the New York Debt

  Collection Practices Act and as well as claims for Malicious Prosecution and Malicious Abuse of

  Process under Pennsylvania and New York law. See Complaint, DE[1], ¶¶ II & III. The
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 2 of 13 PageID #: 323



  complaint also suggests various violations of the rules of professional and judicial conduct.

         The Complaint is dense and quite difficult to follow at times, including not only factual

  allegations but references to and quotations from various statutes, codes of conduct and caselaw,

  but it is clear that the gravamen of the claims arises from proceedings related to an action in the

  Civil Court of the City of New York and an appeal by the Caldwells of the judgment entered by

  the Civil Court. The plaintiffs were tenants in a residential building that the defendants claim

  was owned by defendant Fairfield Presidential Associates (“FPA”), while the plaintiffs claim that

  it was owned by defendant Fairfield Presidential Management Corp. (see Pl’s Opp. at p. 2). On

  April 2, 2003, defendant Gutman, Mintz, et al., a law firm representing FPA, sent a collection

  letter to the plaintiffs regarding non-payment of rent. On January 3, 2006, Gutman sent another

  collection letter. On February 27, 2006, Gutman filed a lawsuit in New York City Civil Court on

  behalf of FPA against the Caldwells for breach of lease and damages.

         A Civil Court trial was held, and a Decision was issued on June 4, 2007, stating that the

  plaintiff, FPA, had “established a prima facie case based on credible evidence,” while the

  defendants, the Caldwells, “[did not] establish a prima facie case” on their counterclaim. The

  Decision also stated:

         These matters originated in housing court Index # 006635/01; 081666/01; and
         063139/02 where issue of non-payment and abatement & holdover were
         adjudicated. All matters were appealed and denied. A judgment of possession
         was granted in the holdover action. It was established and unpaid. [Plaintiff]
         seeks money judgment in this matter and established his claim. [Defendants]
         counterclaimed seeking abatement but had his day in housing court and cannot
         sustain this claim in Civil Court.

  Novikoff Aff., Ex. B.

         Judgment in the amount of $17,831.45 was entered on September 14, 2007. The


                                                   2
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 3 of 13 PageID #: 324



  Caldwells appealed the Civil Court ruling to the Appellate Term, which affirmed the order

  without costs on February 11, 2009. The order from the Appellate Term noted that the judgment

  entered by the Civil Court “awarded plaintiff the principal sum of $11,462.93 as against

  defendant Ken Caldwell, and implicitly dismissed his counterclaims.” Novikoff Aff., Ex. C. It

  also explained the background of the dispute, noting that the plaintiff, FPA, had commenced the

  action “to recover use and occupancy for the months of January 2002 through November 2002.”

  Ken Caldwell counterclaimed for a “rent abatement.” At trial, FPA proved, through two

  stipulations so-ordered by the court in prior proceedings, that Ken Caldwell had agreed to pay

  use and occupancy of $1,138 per month for the months sought and agreed to waive and release

  all claims against FPA. On appeal to the Appellate Term, the Caldwells disputed the amount

  awarded to the plaintiff, but that amount was plainly set out in the Stipulations. Id. The

  plaintiffs state that, on April 9, 2009, the Appellate Term denied their application to appeal to the

  Appellate Division. See Pl’s Opp. DE[33].

         In between the entry of judgment in the Civil Court and the denial of the Caldwells’

  appeal, they started this lawsuit. All of the defendants are related to the events underlying the

  state court proceedings, either directly, as parties or lawyers, or indirectly, as employees of the

  corporate defendants.

                                             DISCUSSION

  Standard For Motion To Dismiss:

         The court notes, as a threshold issue, that this motion was made after Answers had been

  filed, and is thus a motion for judgment on the pleadings pursuant to Rule 12(c). Rule 12(c)

  motions are governed by the same legal standards as those applicable to Rule 12(b)(6), and


                                                    3
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 4 of 13 PageID #: 325



  references to Rule 12(b)(6) are thus intended to apply to the instant motion. See In re Ades &

  Berg Investors, 550 F.3d 240, 243 n.4 (2d Cir. 2008).

         Standards applicable to12(b)(6) motions changed in 2007. In Bell Atlantic Corp. v.

  Twombly, 127 S. Ct. 1955 (2007), the Supreme Court rejected the “oft-quoted” standard set forth

  in Conley v. Gibson, 355 U.S. 41, 45-46 (1957), that a complaint should not be dismissed “unless

  it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which

  would entitle him to relief.” Id. at 45-46. Twombly discarded the “no set of facts” language in

  favor of the requirement that the plaintiff must plead enough facts “to state a claim for relief that

  is plausible on its face.” 127 S. Ct. at 1974. Post-Twombly, the court must still assume that well-

  pleaded factual allegations set forth in a complaint are true and draw all inferences in favor of the

  non-moving party (see, e.g., Holmes v. Poskaner, 2009 WL 2171326 (2d Cir. Jul. 21, 2009)), but

  those factual allegations must be enough to “raise a right to relief above the speculative level, on

  the assumption that all the allegations in the complaint are true (even if doubtful in fact).’”

  Williams v. Berkshire Fin. Grp. Inc., 491 F. Supp. 2d 320, 324 (E.D.N.Y. 2007)(quoting

  Twombly, 127 S. Ct. at 1969); see also ATSI Communications, Inc. v. Shaar Fund, Ltd., 493 F.3d

  87, 98 (2d Cir. 2007).

         And there remains a significant difference between factual allegations and legal

  conclusions. In Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009), the Supreme Court explained that

  “[t]wo working principles underlie [the] decision in Twombly. First, the tenet that a court must

  accept as true all of the allegations contained in a complaint is inapplicable to legal conclusions.

  Threadbare recitals of the elements of a cause of action, supported by mere conclusory

  statements, do not suffice.” 129 S. Ct. at 1949. Although for the purposes of a motion to dismiss


                                                    4
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 5 of 13 PageID #: 326



  the court must accept as true the factual allegations in the complaint, it is not “bound to accept as

  true a legal conclusion couched as a factual allegation.” Id. at 1949-50. As the Ashcroft court

  noted, Federal Rule 8 may be a generous departure from stricter pleading rules of the past, but “it

  does not unlock the doors of discovery for a plaintiff armed with nothing more than

  conclusions.” Id. at 1950.

          The second principle underlying Twombly, Ashcroft explains, is that only a complaint that

  states a plausible claim for relief will survive a motion to dismiss. Id. at 1950. “The plausibility

  standard is not akin to a probability requirement, but it asks for more than a sheer possibility that

  a defendant has acted unlawfully.” Id. at 1949 (internal quotation marks and citations omitted).

  Where “the well-pleaded facts do not permit the court to infer more than the mere possibility of

  misconduct, the complaint has alleged – but it has not shown – that the pleader is entitled to

  relief.” Id. at 1950 (internal quotation and punctuation marks omitted). Determining whether a

  complaint states a plausible claim for relief is a “context-specific task that requires the reviewing

  court to draw on its judicial experience and common sense.” Id. Where the well-pleaded facts do

  not permit the court to infer “more than the mere possibility of misconduct, the complaint has

  alleged - but it has not shown - that the pleader is entitled to relief.” Id. (internal citations and

  punctuation omitted).

          With these standards in mind, I turn to the issues raised in the motion.

  Application of Rooker-Feldman:

          The defendants argue that the complaint must be dismissed pursuant to the Rooker-

  Feldman doctrine. “When a federal suit follows a state suit, the former may be prohibited by the

  so-called Rooker-Feldman doctrine.” Hoblock v. The Albany County Bd. of Elections, 422 F.3d


                                                     5
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 6 of 13 PageID #: 327



  77, 83 (2d Cir. 2005). In Hoblock, the Second Circuit examined the Supreme Court’s then-recent

  consideration of the Rooker-Feldman doctrine in Exxon Mobil Corp. v. Saudi Basic Indus. Corp.,

  544 U.S. 280, 125 S. Ct. 1517 (2005), noting that the two cases from which the doctrine derived

  “established the clear principle that federal district courts lack jurisdiction over suits that are, in

  substance, appeals from state-court judgments, but . . . provided little guidance on how to apply

  that principle.” Hoblock, 422 F.3d at 84. Before Exxon Mobil, the Second Circuit applied

  Rooker-Feldman expansively, but in Exxon Mobil, “the Supreme Court pared back the Rooker-

  Feldman doctrine to its core, holding that it ‘is confined to cases of the kind from which the

  doctrine acquired its name: cases brought by state-court losers complaining of injuries caused by

  state-court judgments rendered before the district court proceedings commenced and inviting

  district court review and rejection of those judgments.’” Id. at 85 (citing Exxon Mobil, 125 S. Ct.

  at 1521-22). From that holding, the Second Circuit extrapolated four requirements for the

  application of Rooker-Feldman: (1) the federal court plaintiff must have lost in state court; (2)

  the plaintiff must complain of injuries caused by a state court judgment; (3) the plaintiff must

  invite district court review and rejection of the state court judgment; and (4) the state court

  judgment must have been rendered before the federal court proceedings. Id. The first and fourth

  requirements, Hoblock notes, can be loosely termed procedural and the second and third termed

  substantive. Id.

          Here, all of the requirements are met. The plaintiffs lost in state court, complain of

  numerous injuries caused by the state court judgment, and invite review and rejection of that

  judgment, which was rendered before this proceeding was started. Even under the generous

  reading afforded to pro se litigants, a fair review of the Complaint and the plaintiffs’ papers in


                                                      6
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 7 of 13 PageID #: 328



  opposition to this motion makes clear that they want everyone associated with the state court

  proceeding to be found liable, and they seek rejection of that judgment. Many of their allegations

  and much of the argument in their opposition focus on the defendants’ attorneys’ failures to

  produce certain documents in the state court proceeding, notably a Certificate of Occupancy, and

  the plaintiffs’ claim that FPA, the plaintiff in those proceedings, is not the true owner of the

  building. Those issues pertain solely to the state court proceeding, were explicitly or implicitly

  addressed in that proceeding, and are barred from review in this court. Thus, to the extent the

  plaintiffs seek review and rejection of the state court judgment, the Complaint must be

  dismissed.

          However, an argument can be made that they are also raising “independent claims” under

  the federal Fair Debt Collection Act, the Fair Credit Reporting Act, and New York common and

  statutory law. The possibility of such independent claims has been recognized in Exxon Mobil

  and in McKithen v. Brown, 481 F.3d 89 (2d Cir. 2007). The Second Circuit has considered how

  a court should determine whether a federal suit raises an independent, non-barred claim. See

  Hoblock, 422 F.3d at 86-87. “At first glance, one might think that a federal claim is independent

  of claims raised in state court if the federal claim is premised on a theory not passed upon by the

  state court. . . . Just presenting in federal court a legal theory not raised in state court, however,

  cannot insulate a federal plaintiff’s suit from Rooker-Feldman if the federal suit nonetheless

  complains of injury from a state-court judgment and seeks to have that state-court judgment

  reversed.” Id. at 86. In this regard, courts have held that some claims not raised in state court are

  so “inextricably intertwined” with the claims that were raised in state court that Rooker-Feldman

  would apply. Id. (citing District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983)


                                                     7
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 8 of 13 PageID #: 329



  & Moccio v. New York State Office of Court Administration, 95 F.3d 195 (2d Cir. 1996)). “In

  light of Exxon-Mobil . . . [however], it appears that describing a federal claim as ‘inextricably

  intertwined’ with a state-court judgment only states a conclusion.” That is, the phrase

  “inextricably intertwined” lacks independent content, but is “simply a descriptive label attached

  to claims that meet the requirements outlined in Exxon-Mobil.” Hoblock, 422 F.3d at 86-87.

         Although there is ample basis for finding that all of the plaintiffs’ claims here are

  inextricably entwined with the state court judgment and all that led up to it, and thus non-viable

  under Rooker-Feldman, I will, to give the pro se plaintiffs the full consideration to which they are

  entitled, also consider all of the claims as if they were independent.

  Fair Debt Collection Practice Act Claim

         The plaintiffs assert claims pursuant to various subsections of 15 U.S.C. §1692, the Fair

  Debt Collection Protection Act, which, inter alia, prohibits debt collectors from engaging in

  “conduct the consequence of which is to harass, oppress, or abuse any person in connection with

  the collection or the consequence of which is to abuse the hearer or reader.” 15 U.S.C.

  §1692d(1)-(6). It also prohibits debt collectors from using “any false, deceptive, or misleading

  representation or means in connection with the collection of any debt,” specifically, any “false

  representation of the character, amount, or legal status of any debt.” See 15 U.S.C. §1692e. To

  the extent that factual allegations in support of this claim can be segregated from the overall

  complaint, it would appear that the plaintiffs are arguing that defendant Gutman, Mintz, Baker &

  Sonnenfeldt “referred the debt” to attorneys Mann Bracken LLC in Virginia and the Mann

  Bracken firm brought suit against the Caldwells on May 8, 2003 for breach of a lease in that

  state, and again on January 6, 2005. These lawsuits preceded the action in New York’s Civil


                                                    8
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 9 of 13 PageID #: 330



  Court. The Complaint also references the two collection letters to the Caldwells, one in April

  2003 and the other in January 2006, and it is possible that the plaintiffs intended these as the

  bases for their claim. Or perhaps the plaintiffs are claiming that the proceedings in the Civil

  Court violate the FDCPA.

         But I can only guess. It is impossible to determine from the pleadings or from the

  argument in opposition precisely what documents or acts make out a claim pursuant to the Fair

  Debt Collection Act, or how any of the defendants are “debt-collectors” under that law. Even

  assuming that they do make out such a claim, however, such claim is time barred. Section

  1692k(d) of the FDCPA provides that an action to enforce any liability created by the FDCPA

  “must be brought within one year from the date the violation occurs.” See also Ohlson v. The

  Cadle Co., Inc., 2008 U.S. Dist. LEXIS 77328, *22 (E.D.N.Y. Sept. 30, 2008). This action was

  commenced in October 2007, outside the limitations period, and FDCA.

         The plaintiffs also refer to a claim pursuant to “New York DCA Law:5-77 DEBT

  COLLECTION PRACTICES ACT.” Presumably, they are referring to the New York City

  Department of Consumer Affairs. The state court proceeding is not the sort of debt collection

  activity contemplated by either the federal law or state or local debt collection guidelines, and, to

  the extent that the Complaint purports to make out a claim under DCA requirements, that claim

  should be dismissed.

  Federal Credit Reporting Act Claim:

         As the defendants note, the Fair Credit Reporting Act sets forth obligations applicable to

  “consumer reporting agencies, users of consumer reports, and furnishers of information to

  consumer reporting agencies.” 15 U.S.C.§1681-2; and see Smith v. RBC Mortgage, 2006 U.S.


                                                    9
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 10 of 13 PageID #: 331



  Dist. LEXIS 10282, *13 (S.D.N.Y. Mar. 6, 2006) (internal citations omitted). Paragraph 21 of

  the Complaint alleges that, in 2001 or 2002, defendant Debbie Ketay reported information about

  the plaintiffs’ non-payment of rent to First American Registry/SafeRent, described as a

  “screening company for landlords that blacklists tenants that execute their right under the law.”

  Paragraph 22 alleges that, on February 1, 2002, Ketay also reported the Caldwells to TransUnion

  and Equifax credit bureaus. Presumably the reports were of non-payment of rent. These claims

  must be dismissed. First, courts have held that there is no private, civil cause of action under the

  FCRA. See Smith, 2006 U.S. Dist. LEXIS 10282 at *13. Further, even if such an action were

  allowed, the two year statute of limitations for FCRA claims has long run. Thus, I recommend

  that these claims be dismissed.

  Malicious Prosecution Claim:

         To state a claim for malicious prosecution under New York law, a plaintiff must allege:

  “‘(1) the initiation of an action by the defendant against the plaintiff, (2) begun with malice, (3)

  without probable cause to believe it can succeed, (4) that ends. . . in favor of the plaintiff.’”

  Estiverne v. Esernis-Jenssen, 581 F. Supp. 2d 335, 348 (E.D.N.Y. 2008)(quoting O’Brien v.

  Alexander, 101 F.3d 1479, 1484 (2d Cir. 1996). The state court action did not end in the

  Caldwells’ favor, and I recommend that this claim be dismissed.

  Malicious Abuse of Process Claim:

         The elements of malicious abuse of process are derived from state law, and here, New

  York law would apply. For reasons unknown to the undersigned, the Caldwells reference

  Pennsylvania law in regard to malicious abuse of process, citing a case from Pennsylvania

  Superior Court. See Complaint, ¶¶ II & 14. Pennsylvania law is not relevant to any claim the


                                                    10
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 11 of 13 PageID #: 332



  Caldwells might have regarding malicious abuse of process. They also cite, late in the

  Complaint, to the elements of malicious abuse of process under New York law, and I will

  consider the claim under that law. (Complaint, ¶36(4)).

         Under New York law abuse of process has three elements: “(1) regularly issued process,

  either civil or criminal, (2) an intent to do harm without excuse or justification, and (3) use of the

  process in a perverted manner to obtain a collateral objective.” Curiano v. Suozzi, 63 N.Y.2d

  113, 116 (1984). Here, the process is presumably the civil action in state court, but nothing in

  the complaint can be read to plausibly allege either a bad intention or an improper collateral

  objective1. The defendants initiated the civil action to get an award of back rent. The New York

  court found that they were entitled to it, and justification is thus established. Courts have focused

  on the collateral objective element, noting that “in order to establish the collateral objective

  element, ‘a plaintiff must prove not that the defendant acted with an improper motive, but rather

  an improper purpose.” Blair v. City of New York, 2009 U.S. Dist. LEXIS 29300, *25 -26

  (E.D.N.Y. Mar. 31, 2009). As noted, the defendants purpose was to get their back rent and they

  did so. Nothing in the Complaint gives rise to even the barest inference of some other purpose,



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           Aside from the recitation of law in the Complaint, the only other specific reference to
  this cause of action is as follows: “the General Statutes section §[52-568] Malicious Prosecution
  of Civil Suit by obtaining a judgment from the NYC Civil Court without submitting the
  certificate of occupancy from the NYC Dept. of Building or the MDR from the NYC Dept. of
  HPD knowing that this is required by law, which the statute of law states without presenting this
  document to the court the owner is barred from collecting rent as well as never validating the
  debt, showing proof of deed of the actual owner of the condo apartment my wife and I were
  renting fomr or a binding lease for 2001-2002, Malicious Abuse of Process & Wrongful use of
  Civil Proceeding and Wrongful Eviction which these exhibits will show as my wife and I
  complaint go into full detail.” Complaint, ¶ III (emphasis in original).



                                                   11
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 12 of 13 PageID #: 333



  and the claim should be dismissed.

  N.Y. General Business Law §349 Claim:

         New York’s General Business Law §349 makes illegal “deceptive acts or practices in the

  conduct of any business, trade or commerce or in the furnishing of any service” in the state of

  New York. To state a claim under the section, a plaintiff must plead: “(1) a consumer oriented

  transaction; (2) deceptive acts by the defendant; and (3) injury caused by such deceptive acts.”

  Sorrentino v. ASN Roosevelt Center, LLC, 579 F. Supp. 2d 387, 391 (E.D.N.Y. 2008)(citing

  Oswego Laborers’ Local 214 Pension Fund v. Marine Midland Bank, 85 N.Y.2d 20 (1995)).

  Although courts have applied section 349 in the landlord/tenant context (see Sorrentino, 579 F.

  Supp. 2d at 391), the Complaint here does not set forth “deceptive”acts by the defendants that

  would allow the court to find that a plausible claim has been alleged. The Caldwells’ repeated

  allegation that some or all of the defendants failed to submit a Certificate of Occupancy, even

  assuming it is true, is surely not the sort of deceptive consumer-oriented act that the statute

  contemplates. And, the overall successful prosecution of the civil suit cannot be deemed a

  deceptive act in violation of the General Business Law. This claim should be dismissed.

  Remaining Claims:

         The Complaint also makes reference to Rule 11 and various federal criminal statutes.

  There is absolutely no basis for claims based on those statutes - Rule 11 does not apply to

  activities in a prior state court proceeding, and there is no private right of action under federal

  criminal law. Thus, to the extent that the Complaint attempts to make claims under those

  statutes, such claims must be dismissed.

         The plaintiffs have failed to set forth any plausible claims in their Complaint, and it


                                                    12
Case 2:08-cv-04207-JFB-WDW Document 34 Filed 01/27/10 Page 13 of 13 PageID #: 334



  should be dismissed in its entirety without leave to replead. Consideration of all of the claims in

  the Complaint demonstrates that what the Caldwells really want is an appeal of the state court

  proceeding. Further, I recommend that the pending motion to amend the complaint be denied.

  The motion to amend seeks only to add details about jurisdiction and does not suggest that any

  viable claims would be added.

                                            OBJECTIONS

         A copy of this Report and Recommendation is being sent to counsel for the defendants by

  electronic filing on the date below. Defendants’ counsel is directed to serve a copy of this

  Report on the plaintiffs by certified mail, return receipt requested, and to electronically file

  proof of service with the court. Any objections to this Report and Recommendation must be

  filed with the Clerk of the Court within 14 days. See 28 U.S.C. §636 (b)(1); Fed. R. Civ. P. 72;

  Fed. R. Civ. P. 6(a) and 6(d). Failure to file objections within this period waives the right to

  appeal the District Court’s Order. See Ferrer v. Woliver, 2008 WL 4951035, at *2 (2d Cir. Nov.

  20, 2008); Beverly v. Walker, 118 F.3d 900, 902 (2d Cir. 1997); Savoie v. Merchants Bank, 84

  F.3d 52, 60 (2d Cir. 1996).

  Dated: Central Islip, New York
         January 27, 2010
                                                                /s/ William D. Wall
                                                                WILLIAM D. WALL
                                                                United States Magistrate Judge




                                                   13
